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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 DANIELLE LARKIN, and MIA                 )
 NEUSTEIN, individually and on            )
 behalf of all persons similarly          )
 situated,                                )
                                          )
       Plaintiffs,                        )
                                          ) Case No.: 2:23-cv-142-AMM
 v.                                       )
                                          )
 UAB MEDICINE ENTERPRISE,                 )
 formerly known as UAB Health             )
 System, and UAB HOSPITAL                 )
 MANAGEMENT LLC,                          )
                                          )
       Defendants.                        )

                                       ORDER

      This case comes before the court on a motion to dismiss by Defendant UAB

Medicine Enterprise, formerly known as UAB Health System (“UAB Medicine”)

and Defendant UAB Hospital Management, LLC (“UAB Hospital Management”)

(collectively, “the Defendants”). Doc. 25. For the reasons explained below, the

motion is DENIED.

      Because the court delayed entering a briefing schedule on the motion for

conditional collective action certification until the court ruled on the motion to

dismiss, see Doc. 41, the court ENTERS a briefing schedule on the motion for

conditional collective action certification at the conclusion of this order.
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      I.     BACKGROUND

      Plaintiffs Danielle Larkin and Mia Neustein filed their putative collective

action complaint on behalf of themselves and all others similarly situated. See

generally Doc. 1. These are the facts alleged by Ms. Larkin and Ms. Neustein:

      Ms. Larkin and Ms. Neustein were nurses and former employees of the

Defendants. Id. ¶¶ 5–6. “During her employment . . . , [Ms.] Larkin typically worked

at least three (3) twelve and a half (12.5) hour night shifts that began at 7:00 p.m.

and ended at 7:30 a.m. the following day, during each workweek.” Id. ¶ 31. “During

portions of her employment . . . , [Ms.] Neustein typically worked at least three (3)

twelve and a half (12.5) hour day shifts that began at 7:30 a.m. and ended at 8:00

p.m. the same day, during each workweek.” Id. ¶ 32.

      Ms. Larkin and Ms. Neustein assert that the Defendants suffered from

“chronic understaffing,” which understaffing required Ms. Larkin and Ms. Neustein

to work more than forty hours in a workweek. Id. ¶ 34. Ms. Larkin and Ms. Neustein

further allege that they “were routinely forced to work through their meal break.” Id.

¶ 36. “Additionally,” Ms. Larkin and Ms. Neustein allege that they “rarely left their

shift at the time that [the] Defendants scheduled for them to leave[] and often stayed

late to give report[s], finish tasks, or assist [the] night shift with medical

emergencies.” Id. ¶ 35.

      Ms. Larkin and Ms. Neustein assert that the Defendants did not pay them “for



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all hours worked in excess of forty (40) hours in a workweek and did not pay proper

overtime premiums.” Id. ¶ 38. Ms. Larkin and Ms. Neustein further assert that they

“routinely worked through meal breaks without proper compensation.” Id. ¶ 39.

      Ms. Larkin and Ms. Neustein allege that their experience was not unique. See

generally Doc. 1. They allege that they personally observed other nurses “working

similar overtime hours” and “work[ing] through their meal break” without

appropriate compensation. Id. ¶¶ 34, 36, 38, 43. Ms. Larkin and Ms. Neustein assert

that the Defendants’ compensation practices violate the Fair Labor Standards Act of

1938, 29 U.S.C. § 201 et seq., (“the FLSA”) and that the Defendants’ violated the

FLSA willfully. See generally Doc. 1.

      Ms. Larkin and Ms. Neustein assert that the Defendants are joint employers.

Id. ¶¶ 17–29. To support this assertion, Ms. Larkin and Ms. Neustein reference the

internal overlap between the Defendants, such as shared payment practices. Id. ¶¶

20–29. Ms. Larkin and Ms. Neustein also reference the external perception that these

two entities are one-and-the-same based on their shared facilities and websites. Id.

¶¶ 17–19.

      The Defendants moved to dismiss. Doc. 25. The motion is fully briefed. Id.;

Doc. 29; Doc. 33.




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       II.    STANDARD OF REVIEW

              A. Rule 12(b)(1)

       “The Judicial power of the United States shall not be construed to extend to

any suit . . . commenced or prosecuted against one of the United States . . . .” U.S.

Const. amend. XI. “An assertion of Eleventh Amendment immunity essentially

challenges a court’s subject matter jurisdiction.” Myrick v. Fulton Cnty., 69 F.4th

1277, 1294 (11th Cir. 2023) (cleaned up).

       “Attacks on subject matter jurisdiction under” Rule 12(b)(1) of the Federal

Rules of Civil Procedure “come in two forms.” Lawrence v. Dunbar, 919 F.2d 1525,

1528–29 (11th Cir. 1990). “Facial attacks on the complaint require the court merely

to look and see if the plaintiff has sufficiently alleged a basis of subject matter

jurisdiction, and the allegations in his complaint are taken as true for the purposes of

the motion.” Id. at 1529 (cleaned up). “Factual attacks, on the other hand, challenge

the existence of subject matter jurisdiction in fact, irrespective of the pleadings, and

matters outside the pleadings, such as testimony and affidavits, are considered.” Id.

(cleaned up).

       An immunity-based challenge to a court’s subject matter jurisdiction is a

factual attack. See id. “[W]hen the attack is factual, . . . the trial court is free to weigh

the evidence and satisfy itself as to the existence of its power to hear the case.” Id.

(cleaned up). “In short, no presumptive truthfulness attaches to plaintiff’s



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allegations, and the existence of disputed material facts will not preclude the trial

court from evaluating for itself the merits of jurisdictional claims.” Id. (cleaned up).

             B. Rule 12(b)(6)

      A complaint must provide “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A complaint need not

make “detailed factual allegations;” its purpose is only to “give the defendant fair

notice of what the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (cleaned up). To survive a motion to dismiss,

a complaint’s “[f]actual allegations must be enough to raise a right to relief above

the speculative level, . . . on the assumption that all the allegations in the complaint

are true (even if doubtful in fact).” Id. To test the complaint, the court discards any

“conclusory allegations,” takes the facts alleged as true, McCullough v. Finley, 907

F.3d 1324, 1333 (11th Cir. 2018), and “draw[s] all reasonable inferences in the

plaintiff’s favor,” Randall v. Scott, 610 F.3d 701, 705 (11th Cir. 2010). These facts

and inferences must amount to a “plausible” claim for relief, a standard that “requires

the reviewing court to draw on its judicial experience and common sense.” Ashcroft

v. Iqbal, 556 U.S. 662, 679 (2009).

      III.   ANALYSIS

      UAB Hospital Management asserts that it is entitled to Eleventh Amendment

immunity. Doc. 25 at 6. Because Eleventh Amendment immunity implicates the



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power of this court to hear this case, see Lawrence, 919 F.2d at 1528–29, the court

considers this issue first.

              A. Eleventh Amendment Immunity

       “Absent waiver by the State or valid congressional override, the Eleventh

Amendment bars a damages action against a State in federal court.” Odebrecht

Constr., Inc. v. Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013) (cleaned

up). This constitutional prohibition encompasses suits “brought in federal court

when the State itself is sued and when an arm of the state is sued.” Myrick, 69 F.4th

at 1294 (cleaned up).

       “Congress did not lift the sovereign immunity of the States under the FLSA .

. . .” Emps. of Dep’t of Pub. Health & Welfare v. Dep’t of Pub. Health & Welfare,

411 U.S. 279, 285 (1973); accord Powell v. Florida, 132 F.3d 677, 678 (11th Cir.

1998). And Alabama has not waived its immunity for FLSA cases. See generally

Ala. Const. art. I, § 14 (“[T]he State of Alabama shall never be made a defendant in

any court of law or equity.”). Accordingly, the claims of Ms. Larkin and Ms.

Neustein against UAB Hospital Management are barred by the Eleventh

Amendment if UAB Hospital Management is an arm of the State of Alabama.

       “Whether [UAB Hospital Management] is an arm of the state for Eleventh

Amendment purposes is a question of federal law, but that federal question can only

be answered by considering provisions of state law.” Myrick, 69 F.4th at 1294



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(cleaned up). “[B]ecause states have extremely wide latitude in determining their

forms of government and how state functions are performed,” federal courts give

great “significan[ce]” to “how the [Alabama] Supreme Court has treated [UAB

Hospital Management] in [Alabama] and interpreted the provisions of [Alabama]

law in issue.” Manders v. Lee, 338 F.3d 1304, 1309 n.10 (11th Cir. 2003) (en banc).

      UAB Hospital Management asserts that it is an Alabama limited liability

company. Doc. 25 at 2; Doc. 25-1 ¶ 5. UAB Hospital Management further asserts

that its sole member is The University of Alabama at Birmingham. Doc. 25 at 2;

Doc. 25-1 ¶¶ 1, 5. The University of Alabama at Birmingham “owns and operates”

an “inpatient academic medical center.” Doc. 25-1 ¶ 3. UAB Hospital Management

asserts that it is responsible for hiring all nursing personnel for the medical center

owned and operated by The University of Alabama at Birmingham. Doc. 25 at 3;

Doc. 25-1 ¶¶ 3, 6.

      “In a number of cases th[e Alabama Supreme] Court has held that a [s]tate

university is entitled to [sovereign] immunity in relation to a public hospital that is

part of a college of medicine within the university.” Health Care Auth. for Baptist

Health v. Davis, 158 So. 3d 397, 404 n.5 (Ala. 2013). “The hospitals in those cases

. . . were owned and operated directly by the universities as part of their operations.”

Id. (emphasis omitted) (collecting cases). “The hospitals, in turn, were simply a

component part of these universities.” Id.



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      If Ms. Larkin and Ms. Neustein named The University of Alabama at

Birmingham or its associated medical center as defendants, the result would be clear:

both entities are arms of the State of Alabama and any claims against these entities

are barred by the Eleventh Amendment. See id. Here, the question is whether the

immunity those entities receive extends to UAB Hospital Management—despite its

distinct corporate form—because The University of Alabama at Birmingham is its

sole member. Doc. 25 at 6–7; accord Doc. 25-1 ¶¶ 1, 5.

      Not all entities that perform functions at university hospitals are an arm of the

State of Alabama. See, e.g., Liberty Nat’l Life Ins. Co. v. Univ. of Ala. Health Servs.

Found., P.C., 881 So. 2d 1013, 1028 (Ala. 2003). In Liberty National Life Insurance

Co., the court acknowledged that “[t]he UAB Health Services Foundation is a

nonprofit, independent professional corporation that, in part, attends to the billing

for UAB Hospital[]” and observed that the parties’ briefing did “not state what type

of entity UAB Health System is or the purpose it serves.” Id. The court “conclude[d]

that because the UAB Health Services Foundation and the UAB Health System are

entities separate and distinct from UAB Hospital and ha[d] not been shown to qualify

for sovereign immunity, they [we]re not protected by that doctrine.” Id.

      UAB Hospital Management asserts that its “distinct corporate” form “is of no

consequence” and relies on USA Hospitals v. Kemp for this proposition. Doc. 25 at

6–7 (quoting No. cv-15-0332-WD-M, 2016 WL 1642667, *2 (S.D. Ala. Apr. 25,



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2016)). But USA Hospitals does not answer the question before the court.

      In USA Hospitals, a defendant removed the case to a district court in this

Circuit based on diversity jurisdiction. 2016 WL 1642667, at *1. USA Hospitals

“assert[ed] that it [wa]s not a citizen of Alabama” and instead was an arm of the

State, itself. Id. The defendant responded “that, by creating and funding a limited

liability company to conduct most of its management, operations, and employment

affairs, [USA Hospitals] changed its character as separate and distinct from the State

and extended itself beyond its alter-ego status.” Id. *2 (cleaned up).

      The district court first observed that because “[t]he only member of” USA

Hospitals was a state entity, the creation of the limited liability company “could not

have divorced” USA Hospitals from the state entity. Id. However, the district court

concluded that “[i]t [wa]s unnecessary . . . to definitively resolve whether [USA

Hospitals] part[ook] of Eleventh Amendment immunity . . . and the parties’ cursory

presentation ma[d]e[] the [c]ourt hesitant to do so.” Id. at *2. The district court

instead held that the removing party, “who b[ore] the burden” of establishing the

court’s jurisdiction, “ha[d] failed to carry it.” Id. And “the [c]ourt’s considerable

doubts about its jurisdiction [we]re sufficient to require remand.” Id.

      USA Hospitals stands for the proposition that the party invoking federal

jurisdiction bears the burden of establishing it and that doubts about jurisdiction

require remand—a legal principle that is not at issue here. Compare id. at *2, with



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Doc. 25. The court will not dismiss the claims of Ms. Larkin and Ms. Neustein based

on observations that were the product of “cursory” briefing. USA Hospitals, 2016

WL 1642667, at *2. The court is particularly hesitant to do so when such

observations come from authority that is neither from the Eleventh Circuit nor from

the Alabama Supreme Court. See Manders, 338 F.3d at 1309 n.10 (describing the

significance of state-court precedent in the Eleventh Amendment analysis).

      Federal courts “consider four factors in determining whether an entity is an

arm of the state: (1) how state law defines the entity; (2) what degree of control the

state maintains over the entity; (3) where the entity derives its funds; and (4) who is

responsible for judgments against the entity.” Myrick, 69 F.4th at 1294. UAB

Hospital Management did not discuss any of these factors in its brief, which

omission prevents this court from performing the Eleventh Amendment analysis

required by controlling precedent. Compare id. at 1294–96, with Doc. 25; see also

Manders, 338 F.3d at 1308–28 (described in Myrick as the seminal case for Eleventh

Amendment analysis).

      “As the . . . entity invoking the Eleventh Amendment, [UAB Hospital

Management] bears the burden of demonstrating that it qualified as an arm of the

state entitled to share in its immunity.” Haven v. Bd. of Trustees of Three Rivers

Reg’l Libr. Sys., 625 F. App’x 929, 933 (11th Cir. 2015) (cleaned up) (collecting

cases). UAB Hospital Management has not carried its burden, so the motion is



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DENIED WITHOUT PREJUDICE to the opportunity of UAB Hospital

Management to renew its argument at an appropriate time.

            B. Whether Ms. Larkin and Ms. Neustein Have Stated A Claim
               For Relief

      UAB Medicine asserts that Ms. Larkin and Ms. Neustein “have failed to state

a claim for which relief may be granted” because they “assume without showing

that” UAB Medicine and UAB Hospital Management are joint employers. Doc. 25

at 7 (emphasis omitted). The court disagrees, see Doc. 1 ¶¶ 17–29, and accordingly,

the motion to dismiss is DENIED.

      IV.   CONCLUSION

      For the foregoing reasons, the motion by the Defendants is DENIED. The

court ENTERS a revised briefing schedule on the motion for conditional collective

action certification, see Doc. 39: Any response is due within FOURTEEN (14)

DAYS of the issuance of this order. Any reply is due within SEVEN (7) DAYS of

any response.

      DONE and ORDERED this 2nd day of August, 2023.



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE




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